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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 In re:                                             §
                                                    §
 Professional Fee Matters Concerning the            § Civil Action No. 4:23-CV-4787-AM
 Jackson Walker Law Firm                            §
                                                    §

                     JOINT ADVISORY NOTICE REGARDING MEDIATION

          The United States Trustee (“U.S. Trustee”) and Jackson Walker LLP (“Jackson Walker”

and with the U.S. Trustee, the “Parties”) participated in multiple mediation sessions beginning on

June 16, 2025, with the Honorable Joan N. Feeney (Ret.). The Court ordered that the Parties

complete mediation by 5:00 p.m. on July 15, 2025, and, upon the conclusion of mediation, to file

a joint notice informing the Court of the results. ECF No. 86. The Parties advise the Court that

mediation concluded without a resolution of the Parties’ disputes.

          Pursuant to S.D. Tex. L. R. 16.4.J., the Parties provide the following additional

information:

          1. Jackson Walker agreed to pay the costs of mediation, totaling approximately $68,000.

          2. In attendance for the U.S. Trustee –

 Kevin M. Epstein,                 Laura D. Steele,                  Diarmuid Gorham,
 United States Trustee             Trial Attorney                    Senior Counsel to the Deputy
 Millie Aponte Sall,               517 E. Wisconsin Ave.,            Director/General Counsel
 Assistant U.S. Trustee            Suite 430                         1501 N. 6th St.
 Alicia L. Barcomb,                Milwaukee, Wisconsin 53202        Harrisburg, PA17102
 Trial Attorney                    (414) 297-1247                    (202) 307-1385
 515 Rusk, Suite 3516
 Houston, Texas 77002              Brian P. Thill,                   W. Joel Charboneau,
 (713) 718-4650                    Trial Attorney                    Trial Attorney
                                   780 Regent Street, Suite 304      210 First Street, S.W.,
                                   Madison, WI 53715                 Suite 505
                                   (608) 210-5646                    Roanoke, Virginia 24011
                                                                     (540) 857-2699
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     3. In attendance for Jackson Walker –

Jason L. Boland              Russell Hardin, Jr.            William R. Jenkins
Julie Goodrich Harrison      Emily Smith                    777 Main St., Suite 2100
1550 Lamar Street,           5 Houston Center               Fort Worth, Texas 76102
Suite 2000                   1401 McKinney, Suite 2250      (817) 334-7200
Houston, Texas 77010         Houston, Texas 77010
(713) 651-5151               (713) 652-9000                 C. Wade Cooper
                                                            100 Congress Ave.,
                                                            Suite 1100
                                                            Austin, Texas 78701
                                                            (512) 236-2000


                               [Signature Page Follows]
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Date: July 15, 2025                          Respectfully Submitted,

 NORTON ROSE FULBRIGHT US LLP                KEVIN M. EPSTEIN
                                             UNITED STATES TRUSTEE
 By: /s/ Julie Harrison (with permission)    Region 7, Southern and Western
 Jason L. Boland (SBT 24040542)              Districts of Texas
 Federal I.D. No. 37238
 Attorney-in-charge                          /s/ Alicia L. Barcomb
 Julie Goodrich Harrison (SBT 24092434)      Millie Aponte Sall, Assistant U.S. Trustee
 Federal I.D. No. 3017799                    Tex. Bar No. 01278050/Fed. ID No. 11271
 Maria Mokrzycka (SBT 24119994)              Vianey Garza, Trial Attorney
 Federal I.D. No. 3610759                    Tex. Bar No. 24083057/Fed. ID No. 1812278
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 -and-                                               vianey.garza@usdoj.gov
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 RUSTY HARDIN & ASSOCIATES, LLP

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 Counsel for Jackson Walker LLP
